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               IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                         DALLAS DIVISION

  RTG-MI, LLC f/k/a ROYAL GROUP              :
  SERVICES, LTD, LLC, a Michigan             :
  limited liability company, and             :    Civil Action No. 3:19-cv-251
  GREGORY RICHMOND,                          :
                                             :    Jury Demanded
  Plaintiffs,                                :
                                             :
  v.                                         :
                                             :
  JETPAY MERCHANT SERVICES,                  :
  LLC, a Texas limited liability company,    :
  and WLES, L.P., a Texas limited            :
  partnership,                               :
                                             :
  Defendants.
                                 COMPLAINT

        Plaintiffs, RTG-MI, LLC f/k/a Royal Group Services, LTD, LLC and
 Gregory Richmond (jointly, “RTG”), file this Complaint against Defendants
 JetPay Merchant Services, LLC, and WLES, L.P. (jointly, “JetPay”), and state
 as follows:

               THE PARTIES, JURISDICTION AND VENUE
        1.      Plaintiff RTG-MI, LLC f/k/a Royal Group Services, LTD, LLC, is
 a limited liability company organized under the laws of the State of Michigan,
 with its principal place of business in Michigan.        For diversity purposes
 Plaintiff RTG-MI, LLC f/k/a Royal Group Services, LTD, LLC is a citizen of
 Michigan.
        2.      Plaintiff Gregory Richmond is an individual and citizen of
 Michigan.
        3.      Defendant JetPay Merchant Services, LLC, is a limited liability
 company organized under the laws of the State of Texas, with its principal
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 place of business in Texas. For diversity purposes Defendant JetPay Merchant
 Services, LLC, is a citizen of Texas. JetPay Merchant Services, LLC may be
 served at 3361 Boyington Drive, Suite 180, Carrollton, TX 75006-5174.
       4.       Defendant WLES, L.P., is a limited partnership organized under
 the laws of the State of Texas. For diversity purposes none of the partners or
 owners of Defendant WLES, L.P. are citizens of Michigan. WLES TX, LP may
 be served through its registered agent Trent R. Voigt, at 2233 Wolf Front Road,
 Van Alstyne, TX 75495-4997.
       5.       This Court has personal jurisdiction over JetPay because JetPay
 regularly and continuously conducts business in Texas.
       6.       This Court has subject matter jurisdiction pursuant to 28 U.S.C.
 § 1332 because the amount in controversy exceeds the sum of $75,000 exclusive
 of interest and costs, and there is diversity of citizenship because this matter
 is between citizens of different states.
       7.       Jurisdiction and venue are also proper under the parties’ written
 settlement     agreement    dated   December      16,   2013   (the   “Settlement
 Agreement”).1 Specifically, under Section 14 of the Settlement Agreement, the
 parties agreed that this Court shall retain jurisdiction over all disputes arising
 under the Settlement Agreement, including proceedings to enforce the terms
 of the Settlement Agreement.

                         FACTUAL BACKGROUND

 A.    Uncollectable Chargeback Insurance.
       8.       This is a dispute regarding credit and debit card chargebacks and
 insurance purchased by banks, to protect against losses from uncollectible
 chargebacks.



       1  Section 11 of the Settlement Agreement contains a confidentiality
 provision. Accordingly, a copy of the Settlement Agreement is not attached to
 this Complaint. Importantly, Defendants already have in their possession
 copies of the signed Settlement Agreement.


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       9.     As background, credit and debit cards are generally issued within
 the payment networks (e.g., Visa/MasterCard/Discover) through the banks
 that issue the credit and debit cards to the consumers.
       10.    An “acquiring bank” has a relationship with payment card
 networks as well as the merchant’s bank.          An acquiring bank receives
 cardholder data from a merchant, routs the data through the payment
 networks and, after validation of the cardholder data, deposits the transaction
 amount (minus any fees) into the merchant’s bank account.
       11.    When a cardholder disputes charges for, among other reasons,
 failure to receive goods or services, or is dissatisfied, the cardholder notifies
 their credit or debit card company. The merchant or the issuing bank initiates
 a chargeback, and the acquiring bank is required to reimburse the cardholder’s
 funds. The acquiring bank is then left to recoup the chargeback from the
 merchant.
       12.    RTG is a licensed insurance broker which placed the sale of
 uncollectable chargeback insurance which protects acquiring banks against
 “uncollectable chargebacks,” i.e., when a merchant does not reimburse the
 acquiring bank for the money repaid to the cardholder.
       13.    In 2011, RTG placed an uncollectable chargeback insurance
 policy purchased by Merrick Bank, an acquiring bank (the “Chartis Policy”).
 The Chartis Policy was issued by Chartis Specialty Insurance Co. k/n/a AIG
 (“Chartis”). The Chartis Policy provided approximately $25 million of coverage
 to Merrick Bank for certain losses resulting from uncollectable chargebacks
 during the policy period, incurred within the terms of the policy.
       14.    JetPay is an independent sales organization registered with Visa
 and MasterCard and sponsored by an association member bank, Merrick Bank,
 that provides certain services to merchants, including establishing merchant
 accounts with acquiring banks, processing credit and debit card transactions,
 and reporting on account activity.




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       15.    JetPay and Merrick Bank entered into an independent sales
 organization agreement. JetPay has alleged that it also purchased
 uncollectable chargeback insurance through Merrick Bank, to protect JetPay
 from losses incurred as a result of uncollectable merchant chargebacks.

 B.    The Direct Air Loss.
       16.    In March 2012, one of the merchants, Southern Sky Air Tours
 d/b/a Direct Air (“Direct Air”), which received credit and debit card process
 services from JetPay and Merrick Bank, ceased operations and entered into
 bankruptcy. Direct Air customers who had pre-paid by a credit or debit card
 for goods and services to be delivered by Direct Air sought refunds, resulting
 in chargebacks paid by Merrick Bank allegedly in excess of $25 million (the
 “Direct Air Loss”).
       17.    Merrick Bank sought to recover the uncollectable chargebacks
 from the Direct Air Loss under the Chartis Policy but Chartis denied Merrick
 Bank’s claim. Merrick Bank and Chartis litigated their dispute over the
 Chartis Policy’s coverage for the Direct Air Loss in the United States District
 Court, Southern District of New York, captioned Merrick Bank Corporation v
 Chartis Specialty Insurance Company, Civil Action No. 12-7315(RJS).
 According to filings by Chartis and Merrick Bank in that case, Chartis and
 Merrick Bank have settled their dispute. A copy of a filing from this dispute
 regarding Chartis and Merrick Bank’s settlement is attached hereto as Exhibit
 A.
       18.    At the same time that Merrick Bank has been pursuing
 reimbursement from the Chartis Policy Direct Air Loss, it also sought to
 recover directly from JetPay. Merrick Bank and JetPay also have purportedly
 resolved their dispute regarding the Direct Air Loss.

 C.    The First Direct Air Action and Settlement Agreement.
       19.    On November 18, 2013, JetPay filed a suit against RTG and
 Merrick Bank in this Court, Civil Action Number 3:13-cv-03101-L, and alleged


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 claims against Merrick Bank and RTG for negligence, fraud, breach of
 fiduciary duty, negligent misrepresentation, and breach of contract, among
 other things, directly arising from and relating to the Direct Air Loss (the
 “First Direct Air Action”). A copy of the amended complaint in the First Direct
 Air Action is attached hereto as Exhibit B.
       20.    On December 16, 2013, JetPay and RTG settled all of JetPay’s
 claims against RTG in the First Direct Air Action and executed the Settlement
 Agreement, and on January 10, 2014, Merrick Bank and RTG filed a
 Stipulation of Dismissal with Prejudice and Without Costs. (3:13-cv-03101-L
 Docket No. 33.)
       21.    Among other things, Section 4(B) of the Settlement Agreement
 contains    an    indemnity   provision     whereby    JetPay   expressly   and
 unambiguously agreed to indemnify RTG from any claims brought by any third
 party which arise out of, or relate in any way to, the First Direct Air Action
 including the Direct Air Loss (the “Indemnity Provision”).
       22.    The Settlement Agreement was drafted and negotiated by counsel
 for all parties, and was supported by consideration. In addition, JetPay was
 on actual notice of the Indemnity Provision and the contents thereof.

 D.    The Second Direct Air Action.
       23.    Approximately eighteen months after JetPay and RTG executed
 the Settlement Agreement, on June 30, 2015, Merrick Bank brought a separate
 lawsuit against RTG in the United States District Court, Southern District of
 New York, civil case number 1:15-cv-05120 (the “Second Direct Air Action”).
 Just like the First Direct Air Action, the Second Direct Air Action includes
 claims against RTG for negligence, breach of fiduciary duty, and unjust
 enrichment arising directly from and relating to the Direct Air Loss. A copy of
 the complaint to the Second Direct Air Action is attached hereto as Exhibit C.
       24.    The Second Direct Air Action is currently pending.




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 E.    JetPay Refuses to Indemnify RTG.
       25.    Under the Indemnity Provision, JetPay is obligated to indemnify
 and hold harmless RTG for any damages, costs, and attorneys’ fees incurred in
 connection with the Second Direct Air Action because the claims contained
 therein arise from and out of, and relate in whole or in part to, the claims that
 were asserted against RTG in the First Direct Air Action. Specifically, the
 claims in the Second Direct Air Action – just like in the First Direct Air Action
 – directly relate to and arise from the Direct Air Loss.
       26.    On October 12, 2016, RTG timely sent written notice to JetPay
 regarding the Second Direct Air Action and requesting that JetPay indemnify
 RTG in that matter, including reimbursing RTG for expenses already incurred
 in the Second Direct Air Action and for JetPay to continue payment of all future
 RTG expenses.
       27.    To date, JetPay has failed and refused to respond to RTG’s
 indemnity request. As a result of JetPay’s refusal to honor its contractual
 indemnity obligations under the Settlement Agreement, RTG has had no
 choice but to bring this action.

               COUNT I – DECLARATORY JUDGMENT
       28.    RTG restates and realleges Paragraphs 1-27 above.
       29.    The facts and circumstances of this case present a case of actual
 and justiciable controversy regarding the rights and legal relations of the
 parties with respect to the enforceability of the Indemnity Provision of the
 Settlement Agreement.
       30.    RTG seeks a declaration that the Indemnity Provision contained
 in the Settlement Agreement is enforceable and that JetPay must indemnify
 RTG for all damages, costs, and attorneys’ fees incurred by RTG in the Second
 Direct Air Action, as well as any other action falling under the Indemnity
 Provision.




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                 COUNT II – BREACH OF CONTRACT
       31.    RTG restates and realleges Paragraphs 1-30 above.
       32.    RTG and JetPay entered into the Settlement Agreement which
 contains, among other things, the Indemnity Provision.
       33.    Pursuant to the Indemnity Provision, JetPay expressly and
 unambiguously agreed to indemnify RTG against all claims brought by a third
 party for damages, costs, and attorneys’ fees arising out of, or relating in any
 way to, the First Direct Air Action and the events alleged therein, including
 the Direct Air Loss.
       34.    The Second Direct Air Action contains claims which are
 specifically covered by the Indemnity Provision, including claims directly
 relating to the Direct Air Loss. As a result, JetPay is now obligated to
 indemnify RTG in connection with the Second Direct Air Action.
       35.    JetPay materially breached the Settlement Agreement because
 JetPay failed and refused to indemnify RTG in connection with the Second
 Direct Air Action.
       36.    As a direct and proximate result of JetPay’s material and
 substantial breach of the Settlement Agreement, RTG has suffered and will
 continue to suffer damages in an amount in excess of $75,000, exclusive of
 interest, costs, and attorneys’ fees.

                                    PRAYER
       WHEREFORE, RTG respectfully requests that this Court enter
 judgment in favor of RTG, and against JetPay, (i) granting RTG declaratory
 relief; (ii) holding that JetPay materially breached its contractual obligation of
 indemnity under the Settlement Agreement; (iii) ordering JetPay, jointly and
 severally, to immediately indemnify and pay to RTG all damages, costs,
 interest, and attorneys’ fees already incurred by RTG in the defense of the
 Second Direct Air Action; (iv) ordering JetPay to immediately pay to RTG all
 future damages, costs, interest and attorneys’ fees incurred by RTG in



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        connection with the defense of the Second Direct Air Action; (v) awarding RTG
        an amount in excess of $75,000, exclusive of interest and costs; (vi) awarding
        RTG its costs in this matter, including attorneys’ fees and interest; and (vii)
        awarding RTG any additional relief, including without limitation punitive
        damages, as this Court deems just, necessary and proper.


                                                Respectfully Submitted

          Date: January 31, 2019

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